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                                    Exhibit A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 IN RE:                                                  )       Chapter 11
                                                         )
 EASTERN LIVESTOCK CO., LLC                              )       Case No. 10-93904-BHL-11
                                                         )
                           Debtor.                       )       Hon. Basil H. Lorch III

     ORDER GRANTING TRUSTEE'S MOTION TO EXTEND DEADLINE FOR FILING
     DEBTOR'S CREDITOR MATRIX, STATEMENT AND SCHEDULES PURSUANT TO
                   §§ 105(a), 521, AND FED. R. BANKR. P. 1007(c)

                   This matter came before the Court on the Trustee's Motion To Extend Deadline

 For Filing Debtor's Creditor Matrix, Statement And Schedules Pursuant To §§ 105(a), 521, And

 Fed. R. Bankr. P. 1007(c) ("Schedules Extension Motion") filed by James A. Knauer, the chapter

 11 trustee appointed in this case ("Trustee"), for entry of an Order granting the Trustee additional

 time within which to file a creditor matrix and the Statement and Schedules1 of Eastern

 Livestock Co., LLC ("Debtor"). The Court, having considered the Schedules Extension Motion,

 and being duly advised of the premises, hereby GRANTS the Schedules Extension Motion.


 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Schedules
       Extension Motion.
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                 IT IS THEREFORE ORDERED that:

                 A.    The Trustee shall file the Debtor's creditor matrix, Statement and

 Schedules required under 11 U.S.C. § 521 and Fed. R. Bankr. P. 1007(c) on or before February

 10, 2011.

                 B.    The extension granted hereby is without prejudice to the Trustee's right to

 file a motion seeking further extension.

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